APR 29 2024

IN THIS OFFICE

FOR THE MIDDLE DISTRICT OF NORTH CAROLS) oe

oa

UNITED STATES OF AMERICA
v. 1:24CR_ 135-1

HUNTER TRAMADISON HAMMOND

The Grand Jury charges:
COUNT ONE

On or about January 14, 2023, in the County of Cabarrus, in the Middle
District of North Carolina, HUNTER TRAMADISON HAMMOND, in
connection with the acquisition of a firearm, that is, a SCCY 9mm handgun,
from Eagle Guns Inc, 3789 Roberta Church Road, Concord, North Carolina, a
licensed dealer in firearms within the meaning of Chapter 44, Title 18, United
States Code, knowingly made a false and fictitious written statement to Eagle
Guns Inc, which statement was intended and likely to deceive Eagle Guns Inc,
as to a fact material to the lawfulness of such sale of the said firearm to the
defendant under Chapter 44 of Title 18, in that HUNTER TRAMADISON
HAMMOND certified on an ATF Form 4473, Firearms Transaction Record, in
response to question 2l(a): “Are you the actual transferee/buyer of the
firearm(s) listed on this form?” to which he provided an answer of “Yes,” when

in truth and in fact, as HUNTER TRAMADISON HAMMOND then well knew,

Case 1:24-cr-00135-UA Documenti1 Filed 04/29/24 Page 1 of 6

he was purchasing the firearm on behalf of another person; in violation of Title
18, United States Code, Sections 922(a)(6) and 924(a)(2).
COUNT TWO

On or about March 2, 2023, in the County of Stanly, in the Middle
District of North Carolina, HUNTER TRAMADISON HAMMOND, in
connection with the acquisition of a firearm, that is, a Glock 9mm handgun,
from JR’s Gun Shop Inc, 1224 W. Main Street, Albemarle, North Carolina, a
licensed dealer in firearms within the meaning of Chapter 44, Title 18, United
States Code, knowingly made a false and fictitious written statement to JR’s
Gun Shop Inc, which statement was intended and likely to deceive JR’s Gun
Shop Inc, as to a fact material to the lawfulness of such sale of the said firearm
to the defendant under Chapter 44 of Title 18, in that HUNTER
TRAMADISON HAMMOND certified on an ATF Form 4473, Firearms
Transaction Record, in response to question 21(a): “Are you the actual
transferee/buyer of the firearm(s) listed on this form?” to which he provided an
answer of “Yes,” when in truth and in fact, as HUNTER TRAMADISON
HAMMOND then well knew, he was purchasing the firearm on behalf of
another person; in violation of Title 18, United States Code, Sections 922(a)(6)

and 92.4(a)(2).

Case 1:24-cr-00135-UA Document1 Filed 04/29/24 Page 2 of 6
COUNT THREE

On or about March 7, 2023, in the County of Stanly, in the Middle
District of North Carolina, HUNTER TRAMADISON HAMMOND, in
connection with the acquisition of a firearm, that is, a Taurus .40S&W caliber
handgun, from Scoot’s Place LLC, 636-H NC Hwy 24/27, Albemarle, North
Carolina, a licensed dealer in firearms within the meaning of Chapter 44, Title
18, United States Code, knowingly made a false and fictitious written
statement to Scoot’s Place LLC, which statement was intended and likely to
deceive Scoot’s Place LLC, as to a fact material to the lawfulness of such sale
of the said firearm to the defendant under Chapter 44 of Title 18, in that
HUNTER TRAMADISON HAMMOND certified on an ATF Form 4473,
Firearms Transaction Record, in response to question 21(a): “Are you the
actual transferee/buyer of the firearm(s) listed on this form?’ to which he
provided an answer of “Yes,” when in truth and in fact, as HUNTER
TRAMADISON HAMMOND then well knew, he was purchasing the firearm
on behalf of another person; in violation of Title 18, United States Code,
Sections 922(a)(6) and 924(a)(2).

COUNT FOUR

On or about March 9, 2023, in the County of Cabarrus, in the Middle
District of North Carolina, HUNTER TRAMADISON HAMMOND, in
connection with the acquisition of a firearm, that is, a Glock 9mm handgun,

3

Case 1:24-cr-00135-UA Documenti1 Filed 04/29/24 Page 3 of 6
from Mount Pleasant Sporting Goods and Pawn Inc, 7991 West Franklin
Street, Mount Pleasant, North Carolina, a licensed dealer in firearms within
the meaning of Chapter 44, Title 18, United States Code, knowingly made a
false and fictitious written statement to Mount Pleasant Sporting Goods and
Pawn Inc, which statement was intended and likely to deceive Mount Pleasant
Sporting Goods and Pawn Inc, as to a fact material to the lawfulness of such
sale of the said firearm to the defendant under Chapter 44 of Title 18, in that
HUNTER TRAMADISON HAMMOND certified on an ATF Form 4473,
Firearms Transaction Record, in response to question 21(a): “Are you the
actual transferee/buyer of the firearm(s) listed on this form?” to which he
provided an answer of “Yes,” when in truth and in fact, as HUNTER
TRAMADISON HAMMOND then well knew, he was purchasing the firearm

on behalf of another person; in violation of Title 18, United States Code,
Sections 922(a)(6) and 924(a)(2).
COUNT FIVE

On or about March 16, 2023, in the County of Stanly, in the Middle
District of North Carolina, HUNTER TRAMADISON HAMMOND, in
connection with the acquisition of a firearm, that is, a Hi-Point 9mm handgun,
from JR’s Gun Shop Inc, 1224 W. Main Street, Albemarle, North Carolina, a
licensed dealer in firearms within the meaning of Chapter 44, Title 18, United
States Code, knowingly made a false and fictitious written statement to JR’s

4

Case 1:24-cr-00135-UA Documenti1 Filed 04/29/24 Page 4 of 6
Gun Shop Inc, which statement was intended and likely to deceive JR’s Gun
Shop Inc, as to a fact material to the lawfulness of such sale of the said firearm
to the defendant under Chapter 44 of Title 18, in that HUNTER
TRAMADISON HAMMOND certified on an ATF Form 4473, Firearms
Transaction Record, in response to question 21(a): “Are you the actual
transferee/buyer of the firearm(s) listed on this form?” to which he provided an
answer of “Yes,” when in truth and in fact, as HUNTER TRAMADISON
HAMMOND then well knew, he was purchasing the firearm on behalf of
another person; in violation of Title 18, United States Code, Sections 922(a)(6)
and 924(a)(2).
COUNT SIX

On or about March 29, 2023, in the County of Stanly, in the Middle
District of North Carolina, HUNTER TRAMADISON HAMMOND, in
connection with the acquisition of a firearm, that is, a Glock 9mm handgun,
from Scoot’s Place LLC, 636-H NC Hwy 24/27, Albemarle, North Carolina, a
licensed dealer in firearms within the meaning of Chapter 44, Title 18, United
States Code, knowingly made a false and fictitious written statement to Scoot’s
Place LLC, which statement was intended and likely to deceive Scoot’s Place
LLC, as to a fact material to the lawfulness of such sale of the said firearm to
the defendant under Chapter 44 of Title 18, in that HUNTER TRAMADISON

HAMMOND certified on an ATF Form 4473, Firearms Transaction Record, in
oO

Case 1:24-cr-00135-UA Document1 Filed 04/29/24 Page 5 of 6
response to question 21(a): “Are you the actual transferee/buyer of the
firearm(s) listed on this form?” to which he provided an answer of “Yes,” when
in truth and in fact, as HUNTER TRAMADISON
HAMMOND then well knew, he was purchasing the firearm on behalf of
another person; in violation of Title 18, United States Code, Sections 922(a)(6)
and 924(a)(2).

DATED: April 29, 2024

SANDRA J. HAIRSTON
United States Attorney

aig UF eines 5
BY: CRAIG M. PRINCIPE
Assistant United States Attorney

A TRUE BILL:

FOREPIERSON K

Case 1:24-cr-00135-UA Documenti1 Filed 04/29/24 Page 6 of 6
